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UNITED STATES DISTRICT COURT mg BY ________ D_C_

Western District of Tennessee
05 AUG 23 PH 3= l'l

UNITED STATES OF AME.RICA MMASM GOULD
Plaintiff, U£H&UQ\WW§BTCUUH

w n saw

VS. Case Number 2:97CRYG%Z4-024 8

ERIC RAYFORD
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Cammitted On or A£ter November 1, 1987)

The defendant, Eric Rayford, was represented by Randolph Alden, Esq.

It appearing that the defendant, who was convicted on May 28, 1998, in the above
styled cause and was placed on Supervised Release for a period of five (5) years and
violated the terms of Supervised Release. On February lO, 2005, the Court imposed a
sentence of Time Served and re-imposed a term of Supervised Release that was set to
terminate on May 9, 2007. The defendant violated the conditions of his Supervised
Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of twelve (12) months and one (l) day with no
further term of Supervised Release.

The Court made a recommendation to the United States Bureau of Prisons that the
defendant be transferred to a Halfway House as soon as possible.

The defendant is remanded to the custody of the United States Marshal.

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Signed this the 62:5 day of August, 2005.

 

B RNICE B. D ALD
ITED STATES DISTRICT JUDGE

Defendant's SS No.: 323-66»1075

Defendant's Date of Birth: 07/05/1972

U.S. Marshal No.: 16190-076

Defendant'§ Mailinq Addre§§: 3821 Ladue Street, Membhis, TN

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Randolph W. Alden

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Honorable Bernice Donald
US DISTRICT COURT

